 

Case 17-27229 DOC 1 Filed 12/27/17 Page 1 Of 40

Fi|l in this information to identify your case:

 

United States Bankruptcy Court for the: g 7 ' ""`" `“"""""" " "

 

D|STR|CT OF MARYLAND, BALT|MORE D|VlS|ON ` Fu.ED

Case number(iiknown) Chapter you are filing under:

- saw ncc 27 2017

.» § x i:] Chapter 11 U S Bankruptcy Colm
. t y l ` l:l chapter 12 §§ District of Maryland
- - ' , y i:l Chapter 13 i:\ Check if this §n amended »~ :‘
f ling
' . 0 ( /Yt
_ il l<l<>@, M<>lu@@@l li 1
Officla| Form 101

Vo|untary Petition for individuals Fi|ing for Bankruptcy 12/11

 

 

 

 

The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and Debtor 2 to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct information. |f more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

identify Yourseif

About Debtor 1: About Debtor 2 (Spouse Oniy in a Joint Case):

1. Your full name

Write the name that is on De|ia

your government-issued First name First name
picture identification (for
example, your driver's
license or passport).

 

 

 

 

lVlidd|e name Midd|e name

 

 

Bring your picture Butler
' 't` ` m et'n
3‘:::',1'€°::;':;;¥°“r e ' 5 l_ast name and sumx (sr., Jr., ll, m) Lasc name and Sufnx (sr., Jr., n, m)

 

2. Aii other names you have
used in the last 8 years

include your married or
maiden names.

 

3. On|y the last 4 digits of
your Sociai Security
number or federal xxx_xx_°490
individual Taxpayer
identification number
(lTlN)

 

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Debtor1 Butler, Delia P.

4. Any business names and
Employer identification
Numbers (EiN) you have
used in the last 8 years

include trade names and
doing business as names

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About Debtor 1:

. | have not used any business name or E|Ns.

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Case number (ifknown)

About Debtor 2 (Spouse Oniy in a Joint Case):

l:i l have not used any business name or E|Ns.

 

Business name(s)

Business name(s)

 

EiNs

EiNs

 

5. Where you live

14 Breton Hil| Rd

Apt 1 B

Pikesvii|e, MD 21208-3049
Number, Street, City, State & ZlP Code

Baltimore
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

if Debtor 2 lives at a different add ress:

Number, Street, City, State & ZlP Code

County

lf Debtor 2's mailing address is different from yours, fill it in
here. Note that the court will send any notices to this mailing
address.

 

Number, P.O. Box, Street, City, State & ZlP Code

Number, P.O. Box, Street, City, State & ZlP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

l Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district.

i'_'l l have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

El Over the last 180 days before filing this petition, l have
lived in this district longer than in any other district

l:l l have another reason.
Explain. (see 28 u.s.C. § 1408.)

 

 

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Vo|untary Petition for individuals Fi|ing for Bankruptcy

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Debtor 1 Butler, Delia P. Case number(irknown)

 

Teil the Court About Your Bankruptcy Case

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form
Bankruptcy Code you are 2010)). A|so, go to the top of page 1 and check the appropriate box.
choosing to file under
l Chapter 7

n Chapter 11
l`_'l Chapter 12
l:l Chapter 13

 

8. How you will pay the fee l i will pay the entire fee when | file my petition. P|ease check with the clerk’s office in your local court for more details
about how you may pay. Typical|y, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money order.
if your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address.

[j | need to pay the fee in installments if you choose this option, sign and attach the Application for Indiv)duals to Pay The
Filing Fee in Installments (Ofticial Form 103A).

i:| i request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, ajudge may, but is
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). if you choose this option, you must fill out the Application
to Have the Chapter 7 Filing Fee Waived (Ofticia| Form 103B) and tile it with your petition.

 

9. Have you filed for NO
bankruptcy within the last `
8 years? i:l Yes.

District When Case number
District When Case number

 

District When Case number

 

10. Are any bankruptcy cases . No
pending or being filed by
a spouse who is not filing l:j YQ_
this case with you, or by
a business partner, or by

 

 

 

an affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your |:| No_ Go to line 12.
residence?

- Yes_ Has your landlord obtained an eviction judgment against you?
- No. Go to line 12.

[j Yes. Fill out lnitia/ Statement About an Eviction Judgment Against You (Form 101 A) and file it with this
bankruptcy petition.

 

Ochial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 3

 

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Debtor 1 Butler, Delia P. Case number(irknawn)

 

Report About Any Businesses You 0wn as a So|e Proprietor

 

12. Are you a sole proprietor
of any full- or part-time l No. Go to Part 4.
business?

|:] Yes_ Name and location of business

A sole proprietorship is a

business you operate as an Name of business, if any
individual, and is not a

separate legal entity such as

a corporation, partnership,

or LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition. Check the appropriate box to describe your business:

 

 

Number, Street, City, State & ZlP Code

 

[] Health Care Business (as defined in 11 U.S.C. § 101(27A))

|:j Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

|_`_| Stockbroker (as defined in 11 U.S.C. § 101(53A))

[j Commodity Broker (as defined in 11 U.S,C. § 101(6))

jj None of the above

13. Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. lf you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
you a small business U.S.C. 1116(1)(B).
debtor?
l No_ l am not filing under Chapter 11.

For a definition of small
business debtor, see 11
I:l No.

U_S_C' § 101(51D)_ l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy

Code.

['_`| Yes_ l am filing under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any - No_
property that poses or is
alleged to pose a threat of |:i Y%‘
imminent and identifiable What is the hazard?
hazard to public health or
safety? Or do you own

any property that needs if immediate attention is
immediate attention? needed, Why lS if needed?

 

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

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Debtor1 Butler, Delia P.

Case 17-27229 Doc 1

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

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Case number(irknown)

 

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
tile for bankruptcy You
must truthfully check one of
the following choices. if you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection
activities again.

About Debtor 1:
You must check one:

|:l

i received a briefing from an approved credit []
counseling agency within the 180 days before |

filed this bankruptcy petition, and l received a

certificate of completion.

Attach a copy of the certificate and the payment plan,
if any, that you developed with the agency.

i received a briefing from an approved credit |:j
counseling agency within the 180 days before |

filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

| certify that | asked for credit counseling |:i
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my request, and exigent

circumstances merit a 30~day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining what
efforts you made to obtain the briefing, why you were
unable to obtain it before you filed for bankruptcy, and
what exigent circumstances required you to tile this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you developed,
if any. if you do not do so, your case may be
dismissed

Any extension of the 30-day deadline is granted only

for cause and is limited to a maximum of 15 days.

l am not required to receive a briefing about |:j
credit counseling because of:

|:| lncapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or making
rational decisions about finances

jj Disabiiity.
My physical disability causes me to be unable
to participate in a briefing in person, by phone,
or through the intemet, even after l reasonably
tried to do so.

|'_'| Active duty.
l am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must die a motion for
waiver credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case):
You must check one:

i received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if any,
that you developed with the agency.

i received a briefing from an approved credit
counseling agency within the 180 days before i filed
this bankruptcy petition, but l do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certincate and payment plan, if any.

| certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement
attach a separate sheet explaining what efforts you made to
obtain the briefing, why you were unable to obtain it before
you died for bankruptcy, and what exigent circumstances
required you to tile this case.

Your case mm/ be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must file
a certificate from the approved agency, along with a copy of
the payment plan you developed, if any. lf you do not do so,
your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

l am not required to receive a briefing about credit
counseling because of:

|:j lncapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

|:j Disabiiity.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or through
the intemet, even after l reasonably tried to do so.

[:j Active duty.
l am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing about
credit counseling, you must file a motion for waiver of credit
counseling with the court.

 

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Vo|untary Petition for individuals Filing for Bankruptcy

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Debtor 1 Butler, Delia P.

-Answer These Questions for Reporting Purposes

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Case number (iflmown)

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

lIl No. Go to line 16b.
l Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment

El No. Go to line 16c.
lZl Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and

|:| No_ l am not filing under Chapter 7. Go to line 18.

- Yes l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
` paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses - No
are paid that funds will be
available for distribution l'_`l Yes
to unsecured creditors?
18. How ma_ny Creditors do - 1_49 l:i 1,000-5,000 l:l 25,001-50,000
§$v‘;§s""‘ate that Y°“ g 50_99 lIl 5001-10,000 El 50,001-100,000
' g 100_199 ill 10,001-25,000 El More thanloo,ooo
iZl 200-999
19. How much do you l 30 _ $50,000 ij $1,000,001 - $10 million El $500,000,001 - $1 billion

estimate your assets to
be worth?

El $50,001 - $100,000
El $100,001 - $500,000
El $500,001 - $1 million

iIl $10,000,001 » $50 million
lIl $50,000,001 - $100 million
lZl $100,000,001 - $500 million

lZl $1,000,000,001 - $10 billion
El $10,000,000,001 - $50 billion
Ei lvlore than $50 billion

 

20. How much do you
estimate your liabilities to
be?

l $0 - $50,000

El $50,001 - $100,000
lIl $100,001 - $500,000
iZl $500,001 - $1 million

El $1,000,001 - $10 million

l'_'] $10,000,001 - $50 million
El $50,000,001 - $100 million
El $100,000,001 - $500 million

L'_l $500,000,001 - $1 billion

l:l $1,000,000,001 - $10 billion
l'_'l $10,000,000,001 - 550 billion
lZl ll/lore than $50 billion

 

Part 7: Sign Below

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct

if l have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
States Code._ l understand the relief available under each chapter, and l choose to proceed under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this document, i
have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a ement,
case can result in fin up to $ ,00 `
lsl Delia P. Butle A

Delia P. Butier
Signature of Debtor 1

Executed on December 18, 2017

rison

Executed on

 

MM/DD/¥YYY

ce ling properiy, or obtaining money or property by fraud in connection with a bankruptcy
,or-¢éd _m/_%for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

" \f Signature of Debtor 2

 

MM/DD/YYYY

 

Official Form 101

Vo|untary Petition for individuals Fi|ing for Bankruptcy

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Debtor 1 QZ.\~ et 6 U l+'le / Case number (iflmown)

 

 

 

 

 

 

First Name Midd|e Name Last Name
For you if you are filing this The law allows you, as an individuai, to represent yourself in bankruptcy court, but you
bankruptcy With°u¢ an should understand that many people find it extremely difficult to represent
attorney themselves successfuiiy. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
if you are represented by
an attorney, you do not To be successful, you must correctly tile and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not tile a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case ls selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are Hling for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ruies of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that app|y.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

n No
g Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

Ei Yes. Name of Person .
Attach Banknrptcy Pefition Preparer’s Notice, Declaration, and Signature (Ofiicia| Form 119).

 

By signing herel l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if i do not properly handle the case.

mag/vw X

 

 

 

 

 

 

W of Debtor 1 Signature of Debtor 2
Date [&'Q Z'QQ 17 Date
MM/DD /YYYY MM/ DD/YYYY
Contact phone Contact phone
Ceil phone q qz 1 799 '(06>/70' Ce|l phone
Email address Email address

 

 

 

thcial Form 101 Vo|untary Petition for individuals Fi|ing for Banknrptcy page 8

 

 

 

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Fill in this information to identify your case:

Debtor 1 Delia P. Butler
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, Hiing) First Name Middle Name l.ast Name

 

United States Bankruptcy Court for the: D|STRiCT OF MARYLAND, BALT|MORE DlV|S|ON

 

Case number
(if known)

 

 

 

Officiai Form 1068um

Summary of Your Assets and Liabi|ities and Certain Statistical information 12/1

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying co;:t:t
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules a r you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

 

 

Summarize Your Assets
1Your assets `
Value of vmat you own
1. Schedule AIB: Property (Official Form 106A/B)
1a. copy line 55, Toiai real estate, from schedule A/B ................................................................................................ $ °-0°
1b. Copy line 62, Total personal property, from Schedule A/B ..................................................................................... $ 3,600_00
1c. Copy line 63, Tota| of all property on Schedule AlB ............................................................................................... $ 3,600_00

Summarize Your Liabi|ities

Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Ofticia| Form 1060)
2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 0-00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Ofticiai Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6a ¢$chedu/e E/F. ................................ $ 0-00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] Schedule E/F. ........................... $ 33,980.06

 

Your total liabilities $ 33,980.06

 

 

 

msummarize Your income and Expenses

4. Schedule l: Your/ncame(Officiai Form 106|)
Copy your combined monthly income from line 12 o$chedule l ................................................................................ $ o-oo

5. Schedule J: Your Expenses (Ofticial Form 106J)
Copy your monthly expenses from line 22c of Schedule J .......................................................................... $ 21745-°0

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
ij No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

- Yes
7. What kind of debt do you have?

l Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C§ 159.

|:| Your debts are not primarily consumer debts. You have nothing to report on this part of the fon'n. Check this box and submit this form to the
court with your other schedules

Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information page 1 of 2

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Deber 1 Butler, Delia P. Case number(ifknown)

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofiicial Form
122A-1 Line 11;0R, Form 1223 Line 11;0R, Form 1220-1 Line 14. $ 0-00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

_ _ _, Total claim `
From Part-t on Schedule~E/F, copythe following: l '
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0.00 l
9c. Ciaims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0_00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority ciaims. (Copy line 69.) $ ___ooo
9f. Debts to pension or profit-sharing plans, and other similar debts_ (Copy line 6h.) +$ 0.00
9g. Tota|. Add lines 9a through 9f. $ 0.00
Offrcial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information page 2 of 2

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Fill in this information to identify your case and this filing:

Debtor1 Delia P. But|er
First Name Middle Name Lasi Name

 

Debtor 2
(Spouse, if tiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DiSTRiCT OF MAR¥LAND, BALT|MORE DlV|SiON

 

Case number l:l Check if this is an
amended filing

 

 

Officiai Form 106A/B
Schedule AlB: Property 12/15

 

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think itti'ls best. Be as complete and accurate as possible. lftwo married people are filing together, both are equally responsible for supplying correct
inforrnation. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Bui|ding, Land, or Other Real Estate Vou Own or Have an interest in

 

1 . Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

l No. so to Part 2_
m Yes. Where is the property?

Describe Your Vehicles

Do you ownl iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

l No
l:l Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiies, motorcycle accessories

l No
I:l Yes

 

5 Add the dollar value of the portion you own for ali of your entries from Part 2, including any entries for pages
=>

 

 

 

 

 

.you have attached for Part 2. write that number here $°-°°
Part 3: Describe Your Personal and Househoid items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured

claims or exemptions
6. Househo|d goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

L_.l No
l Yes. Describe .....

 

lLrviNG RooM 1 $100.00

 

 

 

| BEDRooM l $1,500.00

 

 

LTELEvrsroN | $800.00

 

 

 

|olNlNG RooM I $500.00

 

Officiai Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Butler, Delia P. Case number(ifknown)

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music collections; electronic devices
including cell phones, cameras, media players games
l:l No

l Yes. Describe .....

 

| cAMERA l $100.00

 

8. Coiiectibles of value
Examples: Antiques and figurines; paintings, prints or other artwork; books, pictures or other art objects; stamp, coin, or baseball card collections; other
collections memorabilia, collectibies

- No
El Yes. Describe .....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment bicycles, pool tables golf clubs, skis; canoes and kayaks; carpentry tools; musical
instruments

l No
l:l Yes Describe .....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

l No
ij Yes. Describe .....

1 1 . C|othes
Examples: Everyday clothes furs, leather coats, designer wear, shoes, accessories

l No
L_.l Yes. Describe .....

12. Jeweiry
Examples: Everydayjeweiry, costume jewelry, engagement rings, wedding rings, heirle jewelry, watches, gems, goid, silver

l No
l:l Yes. Describe .....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

- No
l:l Yes. Describe .....

14. Any other personal and household items you did not already iist, including any health aids you did not list
- No
i:l Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
Part 3. Write that number here $3,600.00

 

 

 

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
- No

l'_`l Yes ................................................................................................................

17. Deposits of money
Examples: Checking, savings, or other Gnancial accounts; certificates of deposit shares in credit unions, brokerage houses and other similar
institutions if you have multiple accounts with the same institution, list each.

- No
l:l Yes ........................ institution name:
Officiai Form 106AlB Schedule A/B: Property page 2

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Debt0r1 Butler, Delia P. Case number(ifknown)

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

- No
El Yes __________________ institution or issuer name:

19. Non-publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

l:l Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them

l No
El Yes. Give specific information about them
issuer name:

21 . Retirement or pension accounts
Examples: interests in lRA, ERiSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

-No

l:l ¥es. List each account separateiy.
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with iandlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

- No
l:l Yes. ..................... institution name or individual:

23. Annuities (A contract for a periodic paymenth money to you, either for life or for a number of years)
l No
E| Yes _____________ issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

l No
|:| Yes _____________ institution name and description Separateiy tile the records of any interests.11 iJ.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
l No

l:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

- No
l:l Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Buiiding permits, exclusive iicenses, cooperative association hoidings, liquor iicenses, professional licenses

- No
ij Yes. Give specihc information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
- No
ij Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

Officiai Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Butler, Delia P_ Case number(ifknown)

29. Family support
Examples: Past due or lump sum alimony, spousal support, child suppoit, maintenance, divorce settiement, property settlement
- No

E] Yes. Give specific information ......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, woikers’ compensation, Sociai Security benefits;
unpaid loans you made to someone else
l No

l:l Yes. Give specific information..

31. interests iri insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance
l No
l:l Yes. Name the insurance company of each policy and list its value.

Company name: Beneticiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
died.

l No
l:l Yes. Give specific information..

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

l No
El Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No

l:l Yes. Describe each claim .........

35. Any financial assets you did not already list
l No
Ei Yes. Give specific information..

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached for
Part 4. write that number here $0.00

 

 

 

Describe Any Business-Related Froperty You Own or Have an interest ln. List any real estate in Part 1i

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go to Part 6.

m YesA Go to line 38.

Part 6 Describe Any Farm- and Commercia| Fishing-Related Property Vou 0wn or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part 7.

i:l Yes. Go to line 47.

oescribe Aii Property You own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

- No
l:l Yes. Give specific information .........

Oi‘|icia| Form 106A/B Schedule AlB: Property page 4
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Debtor 1 Butler, Delia P. Case number(ifknown)

54. Add the dollar value of all of your entries from Part 7. Write that number here .................................... $0_00
List the rewis or Each Part of this Form

55. Part 1: Total real estate, line 2 $0.00

56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 $3,600_00

58. Part 4: Total financial assets, line 36 $0.00

59. Part 5: Total business-related property, line 45 $0_00

60. Part 6: Total farm- and fishing-related property, line 52 $0_00

61. Part 7: Total other property not iisted, line 54 + $0.00

62. Total personal property. Add lines 56 through 61 Copy personal property total

$3,600.00 $3,600.00

 

 

 

 

63. Total of all property on Schedule AIB. Add line 55 + line 62 $3’500_00
Officiai Form 106A/B Schedule A/B: Property page 5

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Fill in this information to identify your case:
Debtor1 Delia P. Butier
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DlSTR|CT OF MARYLAND, BALT|MORE DiVlSlON

 

Case number
(ifi<nown) |:] Check if this is an

amended filing

 

 

 

 

Officiai Form 106C
Schedule C: The Property You Ciaim as Exempt 4116

 

Be as complete and accurate as possible. if two married people are filing fogether, both are equally responsible for supplying correct information Using the
property you listed on Schedule A/B: Property(Official Form 106A/B) as your source, list the property that you claim as exemptl if more space is needed, fill
out and attach to this page as many copies of Part 2: Additiona/ Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

identify the Property You ciaim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief description: n
Line from Schedule A/B

 

n 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

l No
l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:i No
l:l Yes
Officiai Form 106C Schedule C: The Property You Ciaim as Exempt page 1 of 1

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Fill in this information to identify your case:

Debtor1 Delia P. Butler
First Name Middle Name Last Name

Debtor 2
(Spouse if, nling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: D|STRlCT OF MARYLAND, BALTlMORE DlV|S|ON

 

Case number
(if known)

 

|:l Check if this is an
amended filing

 

 

Officiai Form 106D
Schedule D: Creditors Who Have Ciaims Secured by Property 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if more space is

needed, copy the Additional Page, fill it out, number the entries, and attach it to this forrn. On the top of any additional pages, write your name and case number (if
known).

1. Do any creditors have claims secured by your property?

- No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
l:l Yes. Fill in ali of the information below.

Ofliciai Form 1060 Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of 1
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Fill in this information to identify your case:
Debtor1 Delia P. Butier

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court for the:

D|STR|CT OF MARYLAND, BALT|MORE D|VlS|ON

 

Case number
(ifknown) |:| Check if this is an
amended filing

 

 

 

Officiai Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Ciaims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AlB: Property (Oflicia| Form 106AlB) and on
Schedule G: Executory Contracts and Unexpired Leases (Officia| Form 1066). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Ciaims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page, if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).

List Aii of Your PRioRiTY unsecured claims
1. Do any creditors have priority unsecured claims against you?

 

- No_ Go to Part 2.
g Yes.
List Aii er Your NoNPRioRiTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

m No. You have nothing to report in this part. Submit this form to the court with your other schedules
- Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. if a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim iisted, identify what type of claim it is. Do not list claims already included in Part 1. if more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
2.

Total claim

144 l AWOMENS CHOICE

Last 4 digits of account number $20_00
Nonpriority Creditor's Name

 

When was the debt incurred?

 

5310 Old Court Rd Ste 305
Randallstown, MD 21133-6202

 

Number Street City State Zip Code
Who incurred the debt? Check one.

- Debtor1 only

U Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community
debt
is the claim subject to offset?

- No
m Yes

As of the date you liie, the claim is: Check ali that apply

- Contingent

Ei uniiquidaied

n Disputed

Type of NONPR|OR|TY unsecured ciaim:
l:\ Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

. Other. Specify

 

 

Officiai Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Ciaims

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12345

 

 

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Debtor 1 Butler, Delia P.

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Case number if knew)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|4_2 | AFF|RM Last4 digits of account number $1,328.06
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 720
San Francisco, CA 94104-0720
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
m Debtor 2 only n Uniiquidated
l:l Debtor1 and Debtor 2 only n Disputed
n At least one of the debtors and another Type °f NoNPR|oR|TY unsecured claim=
m Check if this claim is for a community g Student loans
debt n Obligations arising out of a separation agreementh divorce li'lat you did not
is the claim subject to offset? report as priority claims
- No n Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other. Specify
|4.3 l Capitaj One Last4 digits of account number $6,786_00
Nonpriority Creditors Name
Genera| C°rrepondence When was the debt incurred?
PO Box 30285
Sait Lake City, UT 84130-0285
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
n Debtor 2 only m Unliquidated
n Debtor1 and Debtor 2 only i:l Disputed
l:l At least one of the debtors and another Type °f NONPR'oR'TY unsecured claim
l:| Check if this claim is for a community n S!"dem '°a“s
debt n Obligations arising out of a separation agreementh divorce that you did not
is the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other. Specify
l 4.4 l Chase Card Last 4 digits of account number $4,800.00
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 15298
Wi|mington, DE 19850-5298
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only . Contingent
Ei oebior 2 only [] unliquidated
n Debtor 1 and Debtor 2 only n Disputed
m At least one of the debtors and another Type °f NONPR'OR'TY “"SE°u'ed °'aim:
m Check if this claim is for a community n Student loans
debt l:l Obligations arising out of a separation agreementh divorce that you did not
is the claim subject to offset? repoit as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
m Yes l Other. Specify
Officiai Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 2 of 7

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| 4.5 l Chase Card Last 4 digits of account number $634_00
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 15298
Wilmington, DE 19850-5298
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only - Contingent
n Debtor 2 only m Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
m At least one of the debtors and another Type er NoNPR|oR|TY unsecured claim=
n Check if this claim is for a community n Student loans
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No n Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other. Specify
l 446 l Comenity HSN Last 4 digits of account number $3,128_00
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 1 821 25
Columbus, OH 43218-21 25
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only . Contingent
El Deblor 2 only |:| unliquidated
[:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type cr NONPRICR|TY unsecured c'ninu
l:l Check if this claim is for a community l:] Sl"dent loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No El Debts to pension or profit-sharing plans, and other similar debts
m Yes l Other. Specify
|4-7 l Comenity NY Last4 digits of account number $1,195_00
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 1821 25
Columbus, OH 43218-2125
Number Street City State le Code As of the date you li|e, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
|:J Debtorz only El unliquidated
n Debtor 1 and Debtor 2 only n Disputed
m At least one of the debtors and another Type cf NONPR|OR|TY unsecured claim:
cl Check if this claim is for a community n Sludenl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No n Debts to pension or pront-sharing plans, and other similar debts
l.:l Yes - Other. Specify
Officiai Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 3 of 1

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|4.8 l | C Sysfems Last4 digits of account number $340_00
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 64378
Saint Paul, MN 55164-0378
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
m Debtor 2 only n Unliquidated
n Debtor1 and Debtor 2 only n Disputed
l:l At least one of the debtors and another Type °f NONPR|OR|TY unsecured claim=
El Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other. Specify
l 4.9 | Mecu Last 4 digits of account number $2,550_00
Nonpriority Creditor's Name
When was the debt incurred?
401 E Fayette St
Baltimore, MD 21202-3426
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
El Debior 2 only |Il unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type cf NONPR|°R|TY unsecured clelrn=
l:l Check if this claim is for a community n Student l°ans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other. Specify
4.10 PAT|ENT F|RST Last 4 digits of account number $60_00
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 758941
Baltimore, MD 21275-8941
Number Street City State le Code As of the data you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l Contingent
El Debior 2 only l:l unliquidated
n Debtor1 and Debtor 2 only l:l Disputed
m At least one of the debtors and another Type cr N°NFRloRlTY unsecured clalm:
El check irlhie claim is foia eommunity l:l Student '°a"s
debt n Obligations arising out of a separation agreementh divorce that you did not
ls the claim subject to offset? report as priority claims
- No n Debts to pension or profit-sharing plans, and other similar debts
|:l Yes - Other. Specify
Officiai Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 4 of 7

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‘ 4.11 l QVC SYNCHRONY Last 4 digits of account number $450_00
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 965030
Orlando, FL 32896-5030
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
l:l Debtor 2 only l:l Unliquidated
m Debtor 1 and Debtor 2 only n Disputed
l:l At least one of the debtors and another Type dr N°NPR|ORlTY unsecured claim=
m Check if this claim is for a community n Student l°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or pront-sharing plans, and other similar debts
l:l Yes l Other. Specify
4.12 RECREAT|QNAL RESORTS l.ael4 digits of account number $3,900.00
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 6006
Charlottesvillel_VA 22906-6006
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l Contingent
n Debtor 2 only m Unliquidated
E| Debtor1 and Debior 2 only El Disputed
[:l At least one of the debtors and another Type cr NONPR\°R\TY unsecured clelm=
m Check if this claim is for a community n Student l°ans
debt L_.l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other. Specify
4.13 Sinai H°spifa| Last 4 digits of account number $3,000_00
Nonpriority Creditor's Name
When was the debt incurred?
2401 W Be|vedere Ave
Baltimore, MD 21 21 5-5216
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 only - Contingent
l:l Debtor 2 only l:] Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
n At least one of the debtors and another Type er NONPR|°R'TY unsecured claim:
m Check if this claim is for a community n Student l°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subjectto offset? report as priority claims
l N° m Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other. Specify
Officiai Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 5 of 7

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4.14 SW CRED|T SYSTEMS L_P_ Last 4 digits of account number $30.00

Nonpriority Creditor‘s Name
When was the debt incurred?

41 20 international Pkwy Ste 1100
Carro||ton, TX 75007-1958
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l Contingent
m Debtor 2 only m Unliquidated
n Debtor1 and Debtor 2 only m Disputed
n At least one of the debtors and another Type cf NONFR'°R'TY unsecured claim
n Check if this claim is for a community m Student loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No n Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other. Specify

415 Synchrony ASHLEY HOMESTORE Last4 digits of account number $1,344.00
Nonpriority Creditor's Name
C[O When was the debt incurred?
PO Box 965036
Or|ando, FL 32896-5036
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only - Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only n Disputed
I:i At least one of the debtors and another Type cf NoNPR|°R|TY unsecured cleirn:
L_.l Check if this claim is for a community m Student '°a"S
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No n Debts to pension or profit-sharing plans, and other similar debts
l:i Yes - Other. Specify

4.16 Synchrony Care Credit Last 4 digits of account number $3,113.00
Nonpriority Creditosz Name
C/O When was the debt incurred?
PO Box 965036
Or|ando, FL 32896-5036
Number Street City State Z|p Code As of the date you Ele, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only - Contingent
n Debtor 2 only n Unliquidated
n Debtor1 and Debtor 2 only n Disputed
l:l At least one of the debtors and another Type °f NONPR|OR'TY unsecured c'ei"u
|:l Check if this claim is for a community m Student loans
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:| Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other. Specify

Officiai Forrri 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 6 of 7

 

 

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Dethr 1 Butler, Delia P.

Case number tri<now)

 

|4-17| Synchrony TJ MAX

 

Nonpriority Creditor's Name

PO Box 965015
Or|ando, FL 32896-5015

 

Number Street City State Zip Code

Who incurred the debt? Check one.

- Debtor 1 only
n Debtor 2 only
l:] Debtor1 and Debtor 2 only

 

Last 4 digits of account number $702.00

When was the debt incurred?

 

As of the date you lile, the claim is: Check all that apply

- Contingent
m Unliquidated
m Disputed

n At least one of the debtors and another Type °f NCNPR|OR|TY unsecured claim:

m Check if this claim is for a community n Stude'“ loans

debt l:l Obligations arising out of a separation agreementh divorce that you did not
ls the claim subject to offset? report as priority claims

- No n Debts to pension or protit-sharing plans, and other similar debts

n Yes - Other. Specify

 

 

List others to Be Noiifred About a bent That You Aiready Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similariy, if you
have more than one creditor for any of the debts that you listed in Par\s 1 or 2, list the additional creditors here. |f you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Add the Amounts for Each Type of Unsecured Ciaim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

 

 

 

 

Total Ciaim
Sa. Domestic support obligations 6a. $ 0_00
Total claims
from Part 1 6h. Taxes and certain other debts you owe the government 6b. $ 0_00
6c. Ciaims for death or personal injury while you were intoxicated 6c. $ 0_00
€id. 0ther. Add all other priority unsecured claims. Write that amount here. Gd. $ 0_00
6e. Total Priority. Add lines 6a through 6d. 6e. $ o_oo
Total Ciaim
6f. Student loans 6i. $ o_oo
Total claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that o 00
you did not report as priority claims 69» $ ~
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ o_oo
6i. Other. Add all other non riori unsecured claims. Write that amount 6i.
here P ry $ 33,980.06
6]. Total Nonpriority. Add lines Gf through 6i. 6j. $ 33 980 06
_________z____'_
Officiai Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Ciaims Fage 7 of 7

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Fill in this information to identify your case:

Debtor 1

Debtor 2
(Spouse if, nling)

United States Bankruptcy Court for the:

Case number

Delia P. Butler

First Name

Case 17-27229 DOC 1

Middle Name

 

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Last Name

 

First Name

Middle Name

Last Name

D|STR|CT OF MARYLAND, BALT|MORE DlV|S|ON

 

 

 

 

(ifknown) [] Check if this is an
amended filing

Officiai Form 1066

Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible. if two married
information. if more space is needed, copy the additiona

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
l No_ Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
L_.i Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property(Oflicial Form 106 A/B).

people are filing together, both are equally responsible for supplying correct
l page, fill it out, number the entries, and attach it to this page. On the top of any

2. List separately each person or company with whom you have the contractor lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired |eases.

Person or company with whom you have the contract or lease

2.1

Name, Number, Street, City, State and ZlP Code

State what the contract or lease is for

 

Name

 

Number

Street

 

City
2.2

State

ZlP Code

 

Name

 

Number

Street

 

City
2.3

State

ZlP Code

 

Name

 

Number

Street

 

City
2.4

State

ZlP Code

 

Name

 

Number

Street

 

City
2.5

State

ZlP Code

 

Name

 

Number

Street

 

City

Officiai Form 1066

State

ZlP Code

Schedule G: Executory Contracts and Unexpired Leases Page1 cf1
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Case 17-27229 DOC 1 Fi|eCl 12/27/17 Page 25 Of 40

Fill iri this information to identify your case:

Debtor 1 Delia P. Butler

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: D|STR|CT OF MARYLAND, BALT|MORE D|V|S|ON

 

Case number

 

 

 

(irknowni [:| Check if this is an
amended filing

Officiai Form 106H

Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the |eft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

l No
l:lYes

2. Within the last 8 years, have you lived in a community property state or territory? (Communl'ty property states and territories include Arizona,
California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

l No. co lo line 3.
ij Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Officia| Form
106D), Schedule EIF (Official Form 106EIF), or Schedule G (Officia| Form 1066). Use Schedule D, Schedule ElF, or Schedule G to fill out

 

 

 

 

 

 

Column 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZlP Code Check an Schedules that apply
|3.1 l l:l Schedule D, line
Name |Il schedule E/l=, line
El schedule G, line
Number Street
City State ZlP Code
|3.2 l Ei schedule D, line
Name Ei Schedule E/F, line
i:l Schedule G, line
Number Street
City State ZlP Code
Ofi'lcia| Form 106H Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to idenlif
Debtor 1 Delia P. Butler

Debtor 2
(Spouse, if ti|ing)

 

United States Bankruptcy Court for the: D|STR|CT OF MARYLAND, BALT|MORE DlVlSlON

Case number Check if this is:
(" k"°W") El An amended filing

El A supplement showing postpetition chapter 13
income as ot the following date:

 

 

 

Officiai Form 106| m
Schedule |: Your income 12/15

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

waive Employment

1. Fill ln your employment g ' , y ~, ,' w , y _, " y l
information. Debtor 1 i ' ~ y Debtor 2 or non-filing spouse

 

lf you have more than one job, E ploy t tat - Employed l:l Employed
attach a separate page with m m°" 5 us
information about additional n N°t employed n N°t emp|°yed
em lo rs.

p ye _ REGloNAL ADMlssloNs
lnclude part-time, seasona|, or O°°“Pat'°" SPEC|AL|ST

 

 

self»emp|oyed work.
Employer'$ name W|N FAM|LY SERV|CES

 

Occupation may include student or

homemaker, if it applies. Employer's address 2502 W Northem Pkwy

Baltimore, MD 21215-4707

 

How long employed there? 15 years
Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing spouse
unless you are separated.

lf you or your non-ti|ing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need more
space, attach a separate sheet to this form.

 

 

 

 

 

 

 

 

 

For Debtor 1 For Debtor y2 or
o l ~ z ~ o `non~fi|ing spouse
List monthly gross wages, salary, and commissions (before all payroll
2- deductions). lf not paid monthly, calculate what the monthly wage would be 2- $ °-0° $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0_00 +$ N[A
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 0_00 $ N/A
Ot`flcial Form 1061 Schedule I: Your lncome page l

 

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Debtor 1 Butler, Delia P_ Case number (ifknown)
For Debtor 1 For Debtor 2 or '
' non*filing spouse
Copy line 4 here 4. $ 0.00 $ NlA
5. List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a. $ 0.00 $ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ N/A
50. Vo|untary contributions for retirement plans 50. $ 0.00 $ NlA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ NIA
5e. insurance 5e. $ 0.00 $ NIA
5f. Domestic support obligations 5f. $ 0.00 $ NlA
59. Union dues 59. $ 0.00 $ NlA
5h. other deductions. Specify: 5h.+ $ 0.00 + $ NlA
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6. $ 0.00 $ NlA
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ NlA
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 88. $ 0.00 $ N/A
8b. interest and dividends 8b. $ 0.00 $ NlA
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child suppolt, maintenance, divorce
settlement, and property settlement. Bc. $ 0.00 $ NlA
8d. Unemployment compensation 8d. $ 0.00 $ NlA
8e. Sociai Security Be. $ 0.00 $ NlA
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $ 0.00 $ NlA
89. Pension or retirement income 89. $ 0.00 $ NIA
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ 0.00 $ NlA
10. Calculate monthly income. Add line 7 + line 9. 10. $ 0.00 + $ NlA = $ 0.00

 

 

 

 

 

 

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ti|ing spouse.

 

1 1. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 11. +$ 0_00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on theSummary of Schedulesand Statistical Summary of Certain Liabilr'tl'es and Related Data, if it applies 12- $ 0.00
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

l No.
|:] Yes. Explain: F 1

 

Officiai Form 1061 Schedule I: Your lncome page 2

 

Case 17-27229 DOC 1 Filed 12/27/17

Fill in this information to identify your case

Debtor1 Delia P. Butler

Debtor 2
(Spouse, if filing)

 

D|STR|CT OF MARYLAND, BALT|MORE
D|V|SiON

United States Bankruptcy Court for the:

Case number
(if known)

 

 

 

Officiai Form 106J
Schedule J: Your Expenses

 

 

Page 28 of 40

Check if this is:
['_"| An amended tiling

l'_] A supplement showing postpetition chapter 13
expenses as of the following date:

 

MM/DD/YYYY

12I15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.
Describe Your Household
1. is this a joint case?

- No. Go to line 2.
El Yes. Does Debtor 2 live in a separate househoid?

i'_'lNo

l:l Yes. Debtor 2 must tile Officiai Form 106J-2,Expenses for Separate Househo/dof Debtor 2.

2. Do you have dependents? l No

 

 

 

 

Do not list Debtor 1 and n Yes_ Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2_ each dependent .............. Debtor1 or Debtor 2 age live with you?
~ * ~
Do not state the ij No
dependents names. |:| Yes
ij No
i:i Yes
l:l No
L'.`i Yes
l:| No
i:l Yes
3. Do your expenses include - No
expenses of people other than n Yes

yourself and your dependents?

_Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your lncome
(Official Form 106|.)

4. The rental or home ownership expenses for your residence. include irst mortgage
payments and any rent for the ground or iot.

if not included in line 4:

4a. Real estate taxes
4b. Property, homeowner's, or renter’s insurance
4c. Home maintenance, repair, and upkeep expenses
4d. Homeowner’s association or condominium dues
5. Additional mortgage payments for your residence, such as home equity loans

Officiai Form 106J Schedule J: Your Expenses

chur,exp'enses

4. $ 1 ,200.00

 

 

 

4a. $ 0.00
4b. $ 25.00
4c. $ 0.00
4d. $ _____W€'
5. $ 0.00

 

Page 1

 

 

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Debtor 1 Butler, Delia P_ Case number (if known)
6. Uti|ities:

6a. E|ectricity, heat, natural gas Ga. $ 140.00

6b. Water, sewer, garbage collection 6b. $ 0.00

60. Telephone, cell phone, intemet, satellite, and cable services 6c. $ 1 20_00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 300.00
8. Childcare and children’s education costs 8. $ 240.00
9. Clothing, |aundry, and dry cleaning 9. $ 0.00
10. Personal care products and services 10. $ 0.00
11. Medical and dental expenses 11. $ 0.00
12. Transportation. include gas, maintenance bus or train fare.

Do not include car payments 12. $ 0.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 0.00
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Hea|th insurance 15b. $ 500.00

150. Vehicle insurance 150. $ 220.00

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 0.00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay en line 5, schedule l, Your income (offlclal Form 1oel). 18- $ °-°°
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner’s association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

223l Add lines 4 through 21. $ 2,745.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofticial Form 106J-2 $

220. Add line 22a and 22b. The result is your monthly expenses $ 2,745_00
23. Calculate your monthly net income.

23a. Copy line 12(your combined montth income) from Schedule l. 23a. $ 0_00

23b. Copy your monthly expenses from line 220 above. 23b. -$ 21745_00

 

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. $ -2,745-00

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because cfa
modification to the terms of your mortgage?

l No.
l:l Yes. l Explain here:

 

 

Ofticial Form 106J Schedule J: Your Expenses page 2

 

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ii eden
Debtor1 Delia P. Butler ' DEC 27 2017

First Name Middle Name Last Name

Debior 2 U.S. Bankruptcy Court
(Spouse if, filing) First Name Middle Name Last Name ij mm of Mary|and

United States Bankruptcy COUi't fOr the: D|STR|CT OF MARYLAND, BALT|MORE D|V|SiON 4 ` :" r:“” l

Fill in this information to identify your case:

 

Case number
(if known) l:| Check if this is an
amended filing

 

 

 

Officiai Form 106Dec
Declaration About an individual Debtor's Schedu|es lane

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

-No

|] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, l declare that | have read the summary and schedules filed with this declaration and
that they are true and c
X Isl Delia P. Butler k X

Delia P. Butler ' Signature of Debtor 2

Signature of Debtor 1

 

Date December 18, 2017 Date

 

 

 

 

Case 17-27229 DOC 1 Filed 12/27/17 Page 31 Of 40

Fill in this information to identify your case: F"_ED

Debtor 1 Delia P. Butler

FirstName Middle Name LastName v DEC 2 7 2017
Debtor 2 ii

(Spouse if, filing) First Name Middle Name Last Name

 

 

j U.S. Bankruptcy
united states Bankruptcy counter the: DlSTRlCT oF MARYLAND, BALTlMoRE DlvlsloN District ot Marylm' '

 

.r
-'.

Case number \ '
(if known) |:| Check if this is an
amended filing

 

 

 

Officiai Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally_responsibie for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Give oetails About Your Marital status and where You Lived Before

 

1. What is your current marital status?

|:l Married
El Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l No
L_.l ¥es. List all of the places you lived irl the last 3 years. Do not include where you live now.
Debtor 1 Prior Address: Dates Debtor 1 lived Debtor 2 Prior Address: Dates Debtor 2
there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and V\hsconsin.)

l No
l:l Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing ajoint case and you have income that you receive together, list it only once under Debtor 1.

l No
l:l Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exciusions)
Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 1

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Debtor 1 Butler, Delia P_ Case number(ifknown)

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Security, unemployment and
other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. if
you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

l No
lIl Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

El No. Neither Debtor1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a persona|, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No4 Go to line 7.

m Ves List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony, Also, do not include
payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases Gled on or after the date of adjustment

l Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

l No. Go to line 7.

n Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
this bankruptcy case.

Creditor's Name and Address Datos of payment Total amount Amount you Was this payment for
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and alimony.

- No
l:l Yes. List all payments to an insider.

lnsider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

l No

l:l Yes. List all payments to an insider

lnsider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe include creditofs name

m identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury casec, small claims actions, divorces, collection suits, paternity actions, support or custody modifications

Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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and contract disputes

l No

l°_'l Yes. Fill in the details
Case title Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and till in the details below.

l No.Gotoiineti.
[l Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

l No

l:l Yes. Fill in the detaiis.

Credltor Name and Address Describe the action the creditor took Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

- No
[]Yes

List certain Gifis and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l No

l:\ Yes. Fill in the details for each gift.

Gifts with a total value of more than 5600 per Describe the gifts Dates you gave Value
person the gifts

Person to Whom ¥ou Gave the Glft and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
l No
l:l Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity's Name

Address (Numher, street clry, state and zlP code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

INo

ij Yes. Fil|inthedetails.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the |°Ss occurred include the amount that insurance has paid. List pending loss '°st
insurance claims on line 33 ofSchedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

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consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

ea»-o

Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment or Amount of
Address transferred transfer was payment
Email or website address made

Person Who Made the Payment, if Not You
0.00 $0.00

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

- No
E| Yes. Fill in the details.
Person Who Was Paid Description and value of any property Date payment or Amount of
Address transferred transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sei|, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
gifts and transfers that you have already listed on this statement

l No
ill Yes. Fill in the details

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made
paid in exchange

Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you are a
beneficiary? (These are often called asset-protection devr'ces.)

- No
l'_`l Yes.Fillinthedetails.

Name of trust Description and value of the property transferred Date Transfer was
made

Mst of Certain Financial Accounts, instruments Safe Deposit Boxes, and Stor§g§ Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives associations, and other financial institutions

l No
lIl Yes. Fill in the details.
Name of Financial institution and Last 4 digits of Type of account or Date account was Last balance before
Address (Number, street, crty, state and zlP account number instrument closed, sold, closing or transfer
cede) moved, or
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

- No
ill Yes. Fill in the details
Name of Financial institution Who else had access to it? Describe the contents Do you still
Address (Number, street clty, state and zlP code) Address (Number, street clty. state have it?
and zlP code)
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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No
El Yes Fill in the details
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, street city, state and le code) to it? have it?
Address (Numher, street, city. state
and ZlP Code)

identify Property You Hoid or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust for

someone.
- No
lIi Yes. Fill in the details
Owner's Name Where is the property? Describe the property Value
Address (Nuntl>er, street, city, state and zlP code) iNumber, Street, City. State and ZlP

Code)
Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

- Environmental law means any federal, state, or local statute or regulation concerning poliution, contamination, releases of hazardous or

toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium, including statutes or regulations
controlling the cleanup of these substances wastes, or materia|.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
own, operate, or utilize it, including disposal sites.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
materiai, poilutant, contaminant, or similar term.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l No

l:l Yes. Fill in the detaiis.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Nurnber, street, city, state and zlP codel Address (Number, street, clty, state and know it

ZiP Code)

25. Have you notified any governmental unit of any release of hazardous material?

l No
l`J Yes Fill in the details

Name of site Governmentai unit Environmental law, if you Date of notice
Address (Number, street, city, state and th code) Add ress (Number, street city, state and know it

ZlP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

- No
El Yes Fill in the details
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Nurnber, street city, state
and ZiP Code)

_Give Details About ¥our Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
L'l A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
U A member of a limited liability company (LLC) or limited liability partnership (LLP)

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l:l A partner in a partnership

El An officer, director, or managing executive of a corporation

l'_`l An owner of at least 5% of the voting or equity securities of a corporation
l No. None of the above applies. Go to Part 12.
L'_] Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer identification number
Address Do not include Sociai Security number or iTiN.
(Numbsr, Street, City, Stde and ZlP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

l No
|:l Yes. Fill in the details below.
Name Date issued

Address
(Number, Street, City, State and ZlP Code)

met Beiow

l have read the answers on this Statement of FinanciaIAffairs and any attachments, and l declare under penalty of perjury that the answers are
true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 134 19, and 35 .
/
lsl Delia P. Butler
I

 

Delia P. Butler Signature of Debtor 2
Signature of Debtor 1
Date December 18, 2017 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
l No

I:l Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

l No

|:l Yes. Name of Person .Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

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United States Bankruptcy Court § ` ` `
District of Maryland, Baltimore Division " ' Fm
IN RE: Case No. 7
Butler, Delia P. Chapter~“r‘§ UEC 2 l 20 ll
Deb“”(§) u.s. Bankruptcy court
VERIFICATION OF CREDITOR MATRIX a District of Ma\yi'and

The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge

Date: December 18, 2017 Signature: /s/ Delia P. Butler ®,\O/t/Z-@ w

Delia P. Butler v Debtor

Date: Signature:

 

Joint Debtor, if any

 

 

 

 

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A WOMENS CHOICE
5310 Old Court Rd Ste 305
Randallstown, MD 21133-6202

AFFIRM
PO Box 720
San Francisco, CA 94104-0720

Capital One

General Correpondence

PO Box 30285

Salt Lake City, UT 84130-0285

Chase Card
PO Box 15298
Wilmington, DE 19850-5298

Comenity HSN
PO Box 182125
Columbus, OH 43218-2125

Comenity NY
PO Box 182125
Columbus, OH 43218-2125

I C Systems
PO Box 64378
Saint Paul, MN 55164-0378

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Mecu
401 E Fayette St
Baltimore, MD 21202-3426

PATIENT FIRST
PO Box 758941
Baltimore, MD 21275-8941

QVC SYNCHRONY
PO Box 965030
Orlando, FL 32896-5030

RECREATIONAL RESORTS
PO Box 6006
Charlottesville, VA 22906-6006

Sinai Hospital
2401 W Belvedere Ave
Baltimore, MD 21215-5216

SW CREDIT SYSTEMS L.P.
4120 International Pkwy Ste 1100
Carrollton, TX 75007-1958

Synchrony ASHLEY HOMESTORE
C/O
PO BOX 965036

Orlando, FL 32896-5036

 

 

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Synchrony Care Credit
C/O

PO Box 965036

Orlando, FL 32896-5036

Synchrony TJ MAX
PO Box 965015
Orlando, FL 32896-5015

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